                   IN THE UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

Sterling D. Brown,
              Plaintiff,
v.                                              Civil Action No. 2:18-cv-922

City of Milwaukee, et al.
             Defendants.
______________________________________________________________________________

 MOTION FOR EXTENSION OF TIME AND TOLLING STATUTE OF LIMITATIONS


       NOW COME THE PARTIES, through undersigned counsel, and jointly move this

Court for additional time to finalize the settlement noted in this Court’s November 9,

2020 TEXT ONLY ORDER (DKT. No. 77).


       With the assistance and advice of mediator retired Magistrate Judge David E.

Jones, the parties jointly move this Court for an order providing an additional sixty (60)

days to conclude this matter and tolling any statute of limitations. The settlement

agreement referred to in the previous Joint Status Update (Dkt. No. 76) is not finalized.

The parties agree that, given, among others, Holiday Season schedules, final resolution

may require sixty (60) additional days.


       The Parties further agree and stipulate to tolling any statute of limitations in the

underlying federal action governing any possible Plaintiff’s claims in this matter or

against additional persons for 120 days, i.e. until May 26, 2021. Accordingly, the Parties

respectfully request that this Court 1) extend the governing stay for sixty (60) days to



                                            1

          Case 2:18-cv-00922-PP Filed 12/18/20 Page 1 of 2 Document 78
permit the parties an opportunity to reach a final resolution, and 2) order that any statute

of limitations be tolled pursuant to the aforementioned stipulation.



CITY OF MILWAUKEE                                GINGRAS, THOMSEN & WACHS, LLP

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                                             2

         Case 2:18-cv-00922-PP Filed 12/18/20 Page 2 of 2 Document 78
